Case 2:16-Cr-00083-D-BR Document 77 Filed 08/24/17 Page 1 of 2 Page|D 324

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
AMARILLO DIVISION
UNITED STATES OF AMERICA,

Plaintiff,

vS. Criminal NO. 2;16-CR-083-D(1)
MolSES JIMENEZ,

Defendant.

£¢O'>OO’><O>OO'>OOO@OO€O'JOO'BOO'>

JURY NOTE NO.
(Presiding Juror, please insert Note No.)

TO JUDGE FITZWATER:

'©n +he A»Hrd C'ho.,nag +he_. jrerm " in £gr+\r\e mm an

 

 

\. . w § .
a C\moerrv\ \W\c\~\ gur+\ner 8 _Ad\m,nc€§) m ‘\\Q\p“ Qmwmo\ +hL

Aruc>§ ¥\'(.\C(\§C'\Lin% Q,r§n/\€

 

`\% \‘\‘r“ pci>‘£>@§%czc§ O\ C'w"e<lrm\¥\r\cd(\€,cu\d ?>
mr w @e%">.e$%éic\ 0 »Q{r@c\rm \€Md (d\d Q\, h

 

 
 

 

(TO be Si§ned by Presiding

 

 

Case 2:16-cr-00083-D-BR Document 77 Filed 08/24/17 Page 2 of 2 Page|D 325

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS

AMARILLO DIVISION
UNITED STATES OF AMERICA, §
Plaintiff, §
VS. § Criminal No. 2:16-CR-083-D(l)
MOISES JIl\/IENEZ, §
Defendant. §
MEl\/IBERS OF THE JURY:

I have received your note in Which you state:
On the third charge the term “in furtherance”

on page 14 concerning the definition can you please clarify

5

‘ . . . the government must prove that the defendant possessed a
firearm that furthers, advances, or helps forward the drug trafficking
crime.”

is it “possessed the firearm that (could?)”
or “possessed a firearm that (did‘?)”

In answer to your question, you are instructed to follow the instructions in the court’ s charge.
Respectfully,

W.W

Sidney A. Fitzwater
United States District Judge

